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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
      CEDRIC PAULK,                     ) No. CV 20-03794-DMG (JDE)
12                                      )
                                        )
                        Petitioner,     ) JUDGMENT
13                                      )
                   v.                   )
14                                      )
15                                      )
                                        )
      WARDEN PLILER,                    )
16                                      )
                        Respondent.     )
17                                      )
18
19          Pursuant to the Order Accepting Findings and Recommendations of the
20    United States Magistrate Judge,
21          IT IS ADJUDGED that the petition is denied and this action is
22    dismissed without prejudice.
23
24    DATED: October 19, 2020
25                                             ______________________________
                                               DOLLY M. GEE
26                                             United States District Judge
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